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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             New York
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                  q Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Acorda Therapeutics, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                1 ___
                                              ___ 3 – ___
                                                      3 ___
                                                          8 ___
                                                             3 ___
                                                                1 ___
                                                                   1 ___
                                                                      6 ___
                                                                         8
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              2           Blue Hill Plaza, 3rd Floor
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Pearl River                 NY       10965
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Rockland
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.acorda.com
                                              ____________________________________________________________________________________________________




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Debtor        Acorda Therapeutics, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      q Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          q Partnership (excluding LLP)
                                          q Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          q Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          q Railroad (as defined in 11 U.S.C. § 101(44))
                                          q Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          q Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          q Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          q None of the above

                                          B. Check all that apply:

                                          q Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          q Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              3 ___
                                             ___ 2 ___
                                                    5 ___
                                                       4

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      q Chapter 7
                                          q Chapter 9
                                          q Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 q The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           q The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          q A plan is being filed with this petition.
                                                          q Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          q The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          q The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          q Chapter 12




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Debtor         Acorda Therapeutics, Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases           q No
      filed by or against the debtor
      within the last 8 years?              q Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

 10. Are any bankruptcy cases               q No
      pending or being filed by a                          See Attachment A
      business partner or an                q Yes. Debtor _____________________________________________              Affiliates
                                                                                                        Relationship _________________________
      affiliate of the debtor?                                 Southern District of New York
                                                      District _____________________________________________ When               Date hereof
                                                                                                                                __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________



 11. Why is the case filed in this          Check all that apply:
      district?
                                            q Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                            q A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have            q No
      possession of any real                q Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                     q It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                     q It needs to be physically secured or protected from the weather.
                                                     q It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                     q Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                               Number          Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________         _______ ________________
                                                                               City                                            State ZIP Code


                                                     Is the property insured?
                                                     q No
                                                     q Yes. Insurance agency ____________________________________________________________________
                                                              Contact name     ____________________________________________________________________

                                                              Phone            ________________________________




              Statistical and administrative information




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Debtor       Acorda Therapeutics, Inc.
             _______________________________________________________                           Case number (if known)_____________________________________
             Name




 13. Debtor’s estimation of              Check one:
     available funds                     q Funds will be available for distribution to unsecured creditors.
                                         q After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         q 1-49                             q 1,000-5,000                               q 25,001-50,000
 14. Estimated number of
                                         q 50-99                            q 5,001-10,000                              q 50,001-100,000
     creditors
     (on a consolidated basis)           q 100-199                          q 10,001-25,000                             q More than 100,000
                                         q 200-999

                                         q $0-$50,000                       q $1,000,001-$10 million                    q $500,000,001-$1 billion
 15. Estimated assets
     (on a consolidated basis)           q $50,001-$100,000                 q $10,000,001-$50 million                   q $1,000,000,001-$10 billion
                                         q $100,001-$500,000                q $50,000,001-$100 million                  q $10,000,000,001-$50 billion
                                         q $500,001-$1 million              q $100,000,001-$500 million                 q More than $50 billion

                                         q $0-$50,000                       q $1,000,001-$10 million                    q $500,000,001-$1 billion
 16. Estimated liabilities
     (on a consolidated basis)
                                         q $50,001-$100,000                 q $10,000,001-$50 million                   q $1,000,000,001-$10 billion
                                         q $100,001-$500,000                q $50,000,001-$100 million                  q $10,000,000,001-$50 billion
                                         q $500,001-$1 million              q $100,000,001-$500 million                 q More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on _________________
                                                        04 / 01 / 2024
                                                        MM / DD / YYYY


                                         û /s/ Michael A. Gesser
                                             _____________________________________________                Michael A. Gesser
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                    Chief Financial Officer
                                            Title _________________________________________




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Debtor      Acorda Therapeutics, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      û /s/ Blaire Cahn
                                          _____________________________________________            Date       _________________
                                                                                                                    04/01/2024

                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Blaire Cahn
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Baker & McKenzie LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         452         Fifth Avenue
                                         _________________________________________________________________________________________________
                                         Number      Street
                                         New York
                                         ____________________________________________________            NY
                                                                                                         ____________ 10018
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         212-626-4695
                                         ____________________________________                             blaire.cahn@bakermckenzie.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         4737276
                                         ______________________________________________________ NY
                                                                                                ____________
                                         Bar number                                             State




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                             UNANIMOUS WRITTEN CONSENT OF THE
                                  BOARD OF DIRECTORS OF
                                 ACORDA THERAPEUTICS, INC.
                                    a Delaware corporation

                                               March 30, 2024

        The undersigned, being all of the members of the Board of Directors (the “Board”) of Acorda
Therapeutics, Inc., a Delaware corporation (the “Company”), in accordance with Section 141(f) of the
Delaware General Corporation Law, do hereby consent to, vote for and adopt the following resolutions as
of the date set forth above:

        WHEREAS, the Board has, with the assistance of the Company’s and its own legal and financial
advisors, been conducting over an extended period an exhaustive review of strategic alternatives;

        WHEREAS, the Board, with the assistance of its advisors, has reviewed and had the opportunity
to ask questions about the materials presented by management and the legal and financial advisors of the
Company and its subsidiaries (the “Group”) regarding, among other things, the liabilities and liquidity of
the Company, the strategic alternatives available to it, and the impact of the foregoing on the Company’s
business and other stakeholders of the Company;

         WHEREAS, the Board, with the assistance of its advisors, has had the opportunity to consult with
management and the legal and financial advisors of the Company and the Group to fully consider each of
the strategic alternatives available to the Company; and

         WHEREAS, the Board has determined that taking the actions set forth below are in the best
interests of the Company and its stakeholders.

    I.      COMMENCEMENT OF CHAPTER 11 CASE

        NOW, THEREFORE BE IT RESOLVED, the Board has determined, after consultation with
management and its and the Group’s legal and financial advisors, that it is desirable and in the best interests
of the Company and its stakeholders that a petition be filed by the Company and certain Group companies
seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”); and be it further

        RESOLVED, that any member, officer or director of the Company (each, an “Authorized
Officer”), in each case, acting singly or jointly, be, and each hereby is, authorized, empowered and directed,
with full power of delegation, to negotiate, execute, verify, deliver and file, in the name and on behalf of
the Company, all plans, petitions, schedules, statements, motions, lists, applications, pleadings, affidavits,
declarations, orders, notices and other papers (collectively, the “Chapter 11 Filings”) (with such changes
therein and additions thereto as such Authorized Officer may deem necessary, appropriate or advisable, the
execution and delivery of any of the Chapter 11 Filings by such Authorized Officer with any changes thereto
to be conclusive evidence that such Authorized Officer deemed such changes to meet such standard) in the
Bankruptcy Court, and, in connection therewith, to take and perform any and all further acts and deeds
which such Authorized Officer deems necessary, proper or desirable in connection with the Company’s
chapter 11 case (the “Chapter 11 Case”), including negotiating, executing, delivering, performing and filing
any and all documents, schedules, statements, lists, papers, agreements, certificates and instruments (or any
amendments or modifications thereto) in connection with, or in furtherance of, the Chapter 11 Case, the
transactions and professional retentions set forth in this resolution; and be it further
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    II.     STALKING HORSE APA

         RESOLVED, that in connection with the Chapter 11 Case, the Board has determined that it is in
the best interests of the Company and its stakeholders that the Company and certain Group companies enter
into, and the Company and its stakeholders will obtain benefits from, the transactions contemplated by that
certain Asset Purchase Agreement (the “Stalking Horse APA”) with Merz Pharmaceuticals, LLC and Merz
Pharma GmbH & Co. KGAA, on the terms and conditions substantially similar to those set forth in the
form previously provided to the Board, and with such changes thereto as the Authorized Officer executing
the same shall approve, and any other agreements, consents, certificates, amendments, assignments and
instruments in connection therewith (together with the Stalking Horse APA, the “Sale Documents”), in
each case subject to approval by the Bankruptcy Court; and be it further

       RESOLVED, that the form, terms and provisions of each of the Sale Documents and the
Company’s performance of its obligations thereunder, are hereby, in all respects confirmed, ratified and
approved; and be it further

        RESOLVED, that any Authorized Officer is hereby authorized, empowered and directed, in the
name and on behalf of the Company, to cause the Company to negotiate and approve the terms, provisions
of and performance of, and to prepare, execute and deliver the Sale Documents, in the name and on behalf
of the Company, and such other documents, agreements, instruments and certificates as such Authorized
Officer executing the same considers necessary, appropriate, proper or desirable to effectuate the
transactions contemplated by the Sale Documents; and be it further

        RESOLVED, that any Authorized Officer is hereby authorized, empowered and directed, in the
name and on behalf of the Company, to take all such further actions, including to pay all fees and expenses,
in accordance with the terms of the Sale Documents, which shall, in such Authorized Officer’s sole
judgment, be necessary, proper or advisable to perform the Company’s obligations under or in connection
with the Sale Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions; and be it further

       RESOLVED, that any Authorized Officer is hereby authorized, empowered and directed, in the
name and on behalf of the Company, to execute and deliver any amendments, supplements, modifications,
renewals, replacements, consolidations, substitutions and extensions of the Sale Documents which shall, in
such Authorized Officer’s sole judgment, be necessary, proper or advisable; and be it further

    III.    DEBTOR-IN-POSSESSION FINANCING

         RESOLVED, that in connection with the Chapter 11 Case, the Board has determined that it is in
the best interests of (i) in the case of the Company (the “DIP Facility Borrower”), to enter into and obtain
loans, (ii) in the case of the Guarantors (as defined below), to guarantee the DIP Facility Borrower’s
obligations under the DIP Credit Agreement (as defined below), and (iii) in the case of the DIP Facility
Borrower and the Guarantors, to consummate the transactions under that certain senior secured debtor-in-
possession credit facility in an aggregate principal amount of up to $60,000,000 to be evidenced by that
certain Debtor-in-Possession Credit Agreement, by and among the DIP Facility Borrower and each of the
Company’s subsidiary entities, as guarantors (the “Guarantors”), the lenders from time to time party
thereto (the “Lenders”), and the administrative agent for the Lenders (in such capacity and together with
its successors, the “Agent”) (on the terms and conditions substantially similar to those set forth in the form
previously provided to the Board, together with the Exhibits and Schedules annexed thereto, the “DIP
Credit Agreement,” capitalized terms used in this section with respect to debtor-in-possession financing
and not otherwise defined herein shall have the meanings ascribed to such terms in the DIP Credit


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Agreement), in each case subject to approval by the Bankruptcy Court, which is necessary and appropriate
to the conduct of the business of the Company (the “Debtor-in-Possession Financing”), and be it further

        RESOLVED, that the execution and delivery of the DIP Credit Agreement and the DIP Financing
Documents (as defined below) by the Company and each of the Guarantors that is party thereto and the
consummation by the Company of the transactions contemplated thereunder, including (i) in the case of the
DIP Facility Borrower, the borrowing of funds under the DIP Credit Agreement, (ii) in the case of
Guarantors, the guaranty of the obligations thereunder as provided in any guaranty, (iii) in the case of the
DIP Facility Borrower and the Guarantors, the grant of a security interest in and liens upon substantially all
of the Company’s assets in favor of the secured parties (including the authorization of financing statements
in connection with liens), and (iv) the execution, delivery and performance of all other agreements,
instruments, documents, notices or certificates constituting Exhibits to the DIP Credit Agreement or that
may be required, necessary, appropriate, desirable or advisable to be executed or delivered pursuant to the
DIP Credit Agreement or otherwise related thereto, including interest rate or currency hedging
arrangements (each a “DIP Financing Document” and collectively, the “DIP Financing Documents”),
the making of the representations and warranties and compliance with the covenants thereunder and the
assumption of any obligations under and in respect of any of the foregoing, are hereby authorized and
approved in all respects, and that any Authorized Officer, who may act without the joinder of any other
Authorized Officer, is hereby severally authorized, empowered and directed, in the name and on behalf of
the Company, to execute and deliver the DIP Credit Agreement and any other DIP Financing Document to
which the Company is a party, with such changes therein and additions thereto as any such Authorized
Officer, in his or her sole discretion, may deem necessary, convenient, appropriate, advisable or desirable,
the execution and delivery of the DIP Credit Agreement and such DIP Financing Documents with any
changes thereto by the relevant Authorized Officer, to be conclusive evidence that such Authorized Officer
deemed such changes to meet such standard; and be it further

         RESOLVED, that the form, terms and provisions of each of (i) the DIP Credit Agreement,
including the use of proceeds to provide liquidity for the Company throughout the Chapter 11 Case and (ii)
any and all of the other agreements, including any guarantee and security agreement, letters, notices,
certificates, documents and instruments authorized, executed, delivered, reaffirmed, verified and filed in
connection with the Debtor-in-Possession Financing and the performance of obligations thereunder,
including the borrowings and guarantees contemplated thereunder, are hereby, in all respects confirmed,
ratified and approved; and be it further

        RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to cause the Company to
negotiate and approve the terms, provisions of and performance of, and to prepare, execute and deliver the
DIP Credit Agreement and any other DIP Financing Document, in the name and on behalf of the Company,
and such other documents, agreements, instruments and certificates as may be required by the Agent or
required by the DIP Credit Agreement and any other DIP Financing Documents; and be it further

       RESOLVED, that the Company be, and hereby is, authorized to incur the obligations and to
undertake any and all related transactions contemplated under the DIP Credit Agreement and any other DIP
Financing Document, including the granting of security thereunder; and be it further

         RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to grant security interests
in, and liens on, any and all property of the Company as collateral pursuant to the DIP Credit Agreement
and any other DIP Financing Document to secure all of the obligations and liabilities of the Company
thereunder to the Lenders and the Agent, and to authorize, execute, verify, file and deliver to the Agent, on



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behalf of the Company, all agreements, documents and instruments required by the Lenders in connection
with the foregoing; and be it further

        RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to take all such further
actions, including to pay all fees and expenses, in accordance with the terms of the DIP Credit Agreement
and any other DIP Financing Document, which shall, in such Authorized Officer’s sole judgment, be
necessary, proper or advisable to perform the Company’s obligations under or in connection with the DIP
Credit Agreement or any other DIP Financing Document and the transactions contemplated therein and to
carry out fully the intent of the foregoing resolutions; and be it further

        RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to execute and deliver
any amendments, supplements, modifications, renewals, replacements, consolidations, substitutions and
extensions of the DIP Credit Agreement and any of the DIP Financing Documents which shall, in such
Authorized Officer’s sole judgment, be necessary, proper or advisable; and be it further

    IV.     RESTRUCTURING SUPPORT AGREEMENT

        RESOLVED, that in connection with the Chapter 11 Case, the Board has determined that it is in
the best interests of the Company to enter into that certain Restructuring Support Agreement (the
“Restructuring Support Agreement”) on the terms and conditions substantially similar to those set forth in
the form previously provided to the Board; and be it further

        RESOLVED, that the form, terms and provisions of the Restructuring Support Agreement,
together with the term sheet annexed thereto (the “Term Sheet”) and the execution, delivery and
performance thereof and the consummation of the transactions contemplated thereunder by the Company
are hereby authorized, approved and declared advisable and in the best interests of the Company, with such
changes therein and additions thereto as the Authorized Officer executing the same may in his or her sole
discretion deem necessary or appropriate, the execution of the Restructuring Support Agreement to be
conclusive evidence of the approval thereof; and be it further

        RESOLVED, that any Authorized Officer is hereby authorized, empowered, and directed, in the
name and on behalf of the Company, to cause the Company to deliver, certify, file and record, the
Restructuring Support Agreement, including the Term Sheet attached thereto and such other documents,
agreements, instruments and certificates as may be required by the Restructuring Support Agreement,
including the Term Sheet; and be it further

    V.      KEY EMPLOYEE RETENTION PLAN

         RESOLVED, that in connection with the Chapter 11 Case, the Board has determined that it is in
the best interests of the Company to develop a Key Employee Retention Plan (the “KERP”) in order to
facilitate and encourage the continued participation of certain key employees in the restructuring of the
affairs of the Company and the Group; and be it further

         RESOLVED, subject to the approval of the Bankruptcy Court, the adoption and implementation
of the KERP, including the funding thereof and, together with the payment of the amounts provided for
therein in accordance with the KERP, in substantially the amounts and on substantially the terms set forth
in the Exhibit attached thereto, is hereby authorized and approved; and be it further




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        RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, in the name and on behalf of the Company, to take all such further
actions, which shall, in such Authorized Officer’s sole judgment, be necessary, proper or advisable to
perform the Company’s obligations under or in connection with the KERP and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions; and be it further

    VI.     RETENTION OF PROFESSIONALS

         RESOLVED, that, in connection with the Chapter 11 Case, any Authorized Officer, acting singly
or jointly, be, and each hereby is, authorized, empowered and directed, with full power of delegation, in the
name and on behalf of the Company, to employ and retain all assistance by legal counsel, accountants,
financial advisors, investment bankers and other professionals, on behalf of the Company, that such
Authorized Officer deems necessary, appropriate or advisable in connection with, or in furtherance of, the
Chapter 11 Case, with a view to the successful prosecution of the Chapter 11 Case (such acts to be
conclusive evidence that such Authorized Officer deemed the same to meet such standard); and be it further

        RESOLVED, that Baker & McKenzie LLP, located at 452 Fifth Avenue, New York, NY 10018,
is hereby retained as legal counsel for the Company in the Chapter 11 Case, subject to Bankruptcy Court
approval; and be it further

       RESOLVED, that Ernst & Young LLP, located at One Manhattan West, New York, NY 10001, is
hereby retained as financial advisor and auditor for the Company in the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

       RESOLVED, that Ducera Partners LLC, located at 11 Times Square, 36th Floor, New York, NY
10036, is hereby retained as lead financial advisor in the Chapter 11 Case, subject to Bankruptcy Court
approval; and be it further

         RESOLVED, that Leerink Partners LLC, an investment and financial advisory firm with principal
offices at 1301 Avenue of the Americas, 12th Floor, New York, NY 10019, as well as other locations in the
United States, is hereby retained as investment banker for the Company in the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

         RESOLVED, that Kroll Restructuring Administration LLC, located at 55 East 52nd Street, 17th
Floor, New York, NY 10055, is hereby retained as (i) claims and noticing agent and (ii) administrative and
ballot agent for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

    VII.    GENERAL AUTHORIZATION; RATIFICATION OF PAST ACTS

         RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, with full power of delegation, in the name and on behalf of the
Company, to take and perform any and all further acts or deeds that, in the judgment of such Authorized
Officer, shall be or become necessary, proper, or desirable in connection with the Chapter 11 Case,
including (i) the negotiation of such additional agreements, amendments, modifications, supplements,
reports, documents, instruments, motions, affidavits, applications for approvals or rulings of governmental
or regulatory authorities, notes, certificates, or other documents that may be required, (ii) the execution,
delivery, certification, recordation, performance under and filing (if applicable) of any of the foregoing,
and (iii) the payment of all fees, consent payments, taxes and other expenses as any such Authorized Officer,
in his or her sole discretion, may approve or deem necessary, appropriate or desirable in order to carry out
the intent and accomplish the purposes of the foregoing resolutions and the transactions contemplated



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thereby, all of such actions, executions, deliveries, filings and payments to be conclusive evidence of such
approval or that such Authorized Officer deemed the same to meet such standard; and be it further

         RESOLVED, that any and all past actions heretofore taken by any Authorized Officer in the name
and on behalf of the Company in furtherance of any or all of the preceding resolutions be, and the same
hereby are, ratified, confirmed, and approved in all respects as the acts and deeds of the Company; and be
it further

         RESOLVED, that, to the extent the Company serves as (i) the sole member or manager or
shareholder, (ii) the managing member, (iii) the general partner or (iv) otherwise as the governing body (the
“Controlling Party”), in each case, of any subsidiary of the Company (the “Controlled Party”), each
Authorized Officer of the Controlling Party, any one of whom may act without the joinder of any of the
others, is hereby authorized in the name and on behalf of the Controlling Party (acting for such Controlled
Party in the capacity set forth above, as applicable) to take all of the actions on behalf of such Controlled
Party that an Authorized Person is herein authorized to take on behalf of such Controlling Party, in each
case subject to board approval as required under the governing documents; and be it further

       RESOLVED, that the Company’s officers and directors be, and hereby are, directed to cause a
copy of this Unanimous Written Consent of the Board of Directors to be inserted into the minute book of
the Company.

                               [Remainder of Page Intentionally Left Blank]




                                                     6
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         IN WITNESS WHEREOF, the undersigned, being all of the members of the Board of Directors
of Acorda Therapeutics, Inc., a Delaware corporation, hereby consent to and adopt the foregoing resolutions
as of the date first written above, and waive the requirement that a meeting be held to accomplish the same.




                                                         ___________________________________
                                                         Tom Burns




                                                         ___________________________________
                                                         Ron Cohen




                                                         ___________________________________
                                                         Peder K. Jensen




                                                         ___________________________________
                                                         John P. Kelley




                                                         ___________________________________
                                                         Sandra Panem




                                                         ___________________________________
                                                         John Varian




                  [Signature Page to UWC of Board of Directors of Acorda Therapeutics, Inc.]
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Official Form 201A (12/15)


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re                                                                         Chapter 11
Acorda Therapeutics, Inc.,                                                    Case No.: 24-____ (__)
        Debtor.                                  /                            Joint Administration Requested

                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

       1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934,
the SEC file number is 001-31938                 .

       2. The following financial data is the latest available information and refers to the debtor’s condition on
December 31, 2023 (unless otherwise indicated) as reported in Form 10-K for the period ended December 31,
2023 and filed on April 1, 2024.

          a. Total assets                                                            $ 108,525,000

          b. Total debts (including debts listed in 2.c., below)                     $ 266,204,000

          c. Debt securities held by more than 500 holders                                                      Approximate number
                                                                                                                of holders:
          secured ☐ unsecured            ☐ subordinated☐             $
          secured ☐ unsecured            ☐ subordinated☐             $
          secured ☐ unsecured            ☐ subordinated☐             $
          secured ☐ unsecured            ☐ subordinated☐             $
          secured ☐ unsecured            ☐ subordinated☐             $

          d. Number of shares of preferred stock                                                                0
          e. Number of shares common stock                                                                      1,242,0981

          Comments, if any:

        3. Brief description of debtor’s business: Acorda is a biopharmaceutical company that has developed
breakthrough products, therapies, and biotechnology to restore function and improve the lives of people with
neurological disorders.

       4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
5% or more of the voting securities of debtor: NONE2




1 As of March 27, 2024.
2 Information provided is based on publicly available information as of the date hereof and may not reflect transfers not yet reported under

sections 13 and 16 of the 1934 Securities Exchange Act.

                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                          Attachment A

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor


       On the date hereof, each of the affiliated entities listed below (including the debtor in this

chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11

of title 11 of the United States Code in the United States Bankruptcy Court for the Southern District

of New York. The Debtors have filed a motion requesting that the chapter 11 cases of these entities

be consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b) of

the Federal Rules of Bankruptcy Procedure.



                                                 Company

                    Acorda Therapeutics Limited

                    Acorda Therapeutics, Inc.

                    Biotie Therapies AG

                    Biotie Therapies, LLC

                    Civitas Therapeutics, Inc.

                    Neuronex, Inc.
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 Fill in this information to identify the case
 Debtor name Acorda Therapeutics, Inc., et al.1                              .
 United States Bankruptcy Court for the: Southern District of New York
 Case number (If known): _________________________
                                                                                                                      Check if this is an
                                                                                                                     amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                             12/15


A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

 Name of creditor and complete mailing   Name, telephone number, and email   Nature of the    Indicate if      Amount of unsecured claim
 address, including zip code             address of creditor                 claim            claim is         If the claim is fully unsecured, fill in
                                         contact                             (for example,    contingent,      only unsecured claim amount. If claim is
                                                                             trade debts,     unliquidated,    partially secured, fill in total claim
                                                                             bank loans,      or disputed      amount and deduction for value of
                                                                             professional                      collateral or setoff to calculate unsecured
                                                                             services, and                     claim
                                                                             government                       Total        Deduction       Unsecured
                                                                             contracts)                       claim,       for value       claim
                                                                                                              if           of
                                                                                                              partiall     collateral
                                                                                                              y            or setoff
                                                                                                              secure
                                                                                                              d
  1   CATALENT                           Attn: General Counsel                   Settlement   Unliquidated       –             –            $4,000,000
      MASSACHUSETTS                      (Legal Department)                      Agreement
      LLC                                Phone: (857) 323-8641
      14 Schoolhouse Road                Email:
      Somerset, NJ 08873                 GensCouns@Catalent.com



  2   CATALENT                           Attn: General Counsel                   Inventory    Unliquidated       –             –            $3,216,511
      MASSACHUSETTS                      (Legal Department)
      LLC                                Phone: (857) 323-8641
      14 Schoolhouse Road                Email:
      Somerset, NJ 08873                 GensCouns@Catalent.com



  3   NSIGHT DRIVEN                      Attn: John Tenaglia                 Trade Debt       Unliquidated       –             –            $1,448,740
      COMMUNICATIONS                     Title: Partner
      LLC                                Phone: +1 (914) 204-6145
      379 West Broadway                  Email:
      Suite 550                          john.tenaglia@wearemoonr
      New York, NY 10012                 abbit.com




1 The Debtors in these chapter 11 cases, along with the last four (4) digits of each Debtor’s federal tax identification number, are:

Acorda Therapeutics, Inc. (1168), Civitas Therapeutics, Inc. (2814), Biotie Therapies, LLC (2149), Biotie Therapies AG (N/A),
Neuronex, Inc. (5094), and Acorda Therapeutics Limited (N/A). For the purposes of these chapter 11 cases, the address for the
Debtors is: 2 Blue Hill Plaza, 3rd Floor, Pearl River, New York 10965.




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                               page 1
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                                                          Pg 16 of 26
Debtor Acorda Therapeutics, Inc., et al.                                                  Case number (if known)_____________________________________
       Name


 Name of creditor and complete mailing     Name, telephone number, and email   Nature of the    Indicate if        Amount of unsecured claim
 address, including zip code               address of creditor                 claim            claim is           If the claim is fully unsecured, fill in
                                           contact                             (for example,    contingent,        only unsecured claim amount. If claim is
                                                                               trade debts,     unliquidated,      partially secured, fill in total claim
                                                                               bank loans,      or disputed        amount and deduction for value of
                                                                               professional                        collateral or setoff to calculate unsecured
                                                                               services, and                       claim
                                                                               government                         Total        Deduction       Unsecured
                                                                               contracts)                         claim,       for value       claim
                                                                                                                  if           of
                                                                                                                  partiall     collateral
                                                                                                                  y            or setoff
                                                                                                                  secure
                                                                                                                  d
  4    SYNEOS HEALTH                       Attn: Whitney Armond, III            Contract       Unliquidated          –            –          $1,110,423
       COMMERCIAL                          Title: Sr. Vice President,          Salesforce
       SERVICES, LLC                       Deployment Solutions
       500 Atrium Drive                    Phone: (222) 324-8781
       Somerset, NJ 00873                  Email:
                                           Whitney.armond@syneosh
                                           ealth.com
  5    YIPKOS, INC.                        Attn: Matt Boylan                   Trade Debt      Unliquidated          –            –            $335,490
       6628 Sky Pointe Drive               Title: CTO
       Suite 123                           Phone: +1 (714) 273-3679
       Las Vegas, NV 89131                 Email: matt@yipkos.com




  6    SMC, LTD.                           Attn: Contract                       Inventory      Unliquidated          –            –            $279,247
       330 SMC Drive                       Administration
       Somerset, WI 54025                  Phone: (715) 247-3500
                                           Fax: (715) 247-3611
                                           Email:
                                           SMC.AR@smcltd.com

  7    PRIME VIGILANCE                     Attn: Richard O'Hara                Trade Debt      Unliquidated          –            –            $186,672
       LTD                                 Title: Senior Medical
       26-28 Frederick Sanger              Information Associate
       Road. Surrey Research               Phone: +44(0) 148 3307920
       Park                                Email:
       Guildford, Surrey GU2               Accounts.ReceivablePV@p
       7YD                                 rimevigilance.com
  8    FORTREA PATIENT                     Attn: Lillian Steinbock      Prescription           Unliquidated          –            –            $151,974
       ACCESS                              Title: Executive Director      Support
       PO Box 931364                       Patient Support Solutions      Servicer
       Atlanta, GA 31193-1364              Phone: (240) 623-3926
                                           Email:
                                           lillian.steinbock@fortrea.co
                                           m
  9    JONES DAY                           Attn: Adriane Antler                Professional    Unliquidated          –            –            $123,282
       250 Vesey Street                    Title: Of Counsel                     Services
       New York, NY 10281-                 Phone: (212) 326-3630
       1047                                Email:
                                           amantler@jonesday.com




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 2
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                                                          Pg 17 of 26
Debtor Acorda Therapeutics, Inc., et al.                                                  Case number (if known)_____________________________________
       Name


 Name of creditor and complete mailing     Name, telephone number, and email   Nature of the    Indicate if        Amount of unsecured claim
 address, including zip code               address of creditor                 claim            claim is           If the claim is fully unsecured, fill in
                                           contact                             (for example,    contingent,        only unsecured claim amount. If claim is
                                                                               trade debts,     unliquidated,      partially secured, fill in total claim
                                                                               bank loans,      or disputed        amount and deduction for value of
                                                                               professional                        collateral or setoff to calculate unsecured
                                                                               services, and                       claim
                                                                               government                         Total        Deduction       Unsecured
                                                                               contracts)                         claim,       for value       claim
                                                                                                                  if           of
                                                                                                                  partiall     collateral
                                                                                                                  y            or setoff
                                                                                                                  secure
                                                                                                                  d
 10    SHARP                               Attn: Barbara OstTitle:              Packager       Unliquidated          –            –             $81,624
       CORPORATION7451                     Vice PresidentPhone: (610)
       Keebler WayAllentown,               254-1765Email:
       PA 18106                            barbara.ost@sharpservices.
                                           com



 11    APOLLO RX, LLC                      Attn: Dan Wallenberg                Trade Debt      Unliquidated          –            –             $70,000
       150 N Riverside Plaza               Title: Chief Commercial
       Suite 3400                          Officer
       Chicago, IL 60606                   Phone: (630) 253-3535
                                           Email:
                                           dwallenberg@novosgrowth
                                           .com
 12    AXIOM GLOBAL, INC.                  Attn: Lynn LaPierre                 Professional    Unliquidated          –            –             $63,000
       75 Spring Street/Floor 8            Phone: (312) 261-6040                 Services
       New York, NY 10012                  Email:
                                           hello@axiomglobal.com




 13    EVERSANA LIFE                       Attn: Tammy White                   Trade Debt      Unliquidated          –            –             $56,338
       SCIENCE SERVICES                    Title: Associate Director,
       24740 Network Place                 Medical Communications
       Chicago, IL 60673-1247              Phone: (833) 656-1055
                                           Email: Accounting-
                                           MC@eversana.com

 14    DLA PIPER LLP (US)                  Attn: Michael Sitzman               Professional    Unliquidated          –            –             $55,038
       PO Box 780528                       Title: Partner                        Services
       Philadelphia, PA 19178-             Phone: (415) 615-6175
       0528                                Email:
                                           michael.sitzman@us.dlapip
                                           er.com

 15    COMPUTER                            Attn: Anna Sarkissain               Professional    Unliquidated          –            –             $52,806
       PACKAGES, INC.                      Phone: (301) 424-8890                 Services
       11 N. Washington Street,            Email:
       Suite 300                           ASarkissian@computerpac
       Rockville, MD 20850                 kages.com




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 3
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Debtor Acorda Therapeutics, Inc., et al.                                                  Case number (if known)_____________________________________
       Name


 Name of creditor and complete mailing     Name, telephone number, and email   Nature of the    Indicate if        Amount of unsecured claim
 address, including zip code               address of creditor                 claim            claim is           If the claim is fully unsecured, fill in
                                           contact                             (for example,    contingent,        only unsecured claim amount. If claim is
                                                                               trade debts,     unliquidated,      partially secured, fill in total claim
                                                                               bank loans,      or disputed        amount and deduction for value of
                                                                               professional                        collateral or setoff to calculate unsecured
                                                                               services, and                       claim
                                                                               government                         Total        Deduction       Unsecured
                                                                               contracts)                         claim,       for value       claim
                                                                                                                  if           of
                                                                                                                  partiall     collateral
                                                                                                                  y            or setoff
                                                                                                                  secure
                                                                                                                  d
 16    PRINT COTTAGE                       Attn: James Altadonna               Trade Debt      Unliquidated          –            –             $45,522
       54 Market Street                    Title: President
       Onancock, VA 23417                  Phone: (516) 369-1749
                                           Email: jaltadonna@aol.com




 17    RESEARCH                            Attn: Melissa Overbaugh             Trade Debt      Unliquidated          –            –             $41,666
       CATALYST, LLC                       Title: Director
       701 E. Hampden Avenue               Phone: (720) 597-3958
       Suite 510                           Email:
       Englewood, CO 80113                 moverbaugh@ResearchCat.
                                           com

 18    SLATE360, INC.                      Attn: Shawn Donnelly                Trade Debt      Unliquidated          –            –             $37,841
       6628 Sky Pointe Drive               Title: Partner
       Suite 120                           Phone: +1 (508) 298-9048
       Las Vegas, NV 89131                 Email:
                                           Accounting@slate360inc.c
                                           om

 19    XENON PROPERTY,                     Phone: (617) 912-                    Landlord       Unliquidated          –            –             $33,027
       LLCARE/283 Bear Hill                7000Email:
       Road Region No.                     MRIWebFarm@cbre.com
       46Waltham, MA 02451




 20    INSIGHT                             Attn: Rob McConnell                 Trade Debt      Unliquidated          –            –             $32,205
       PO Box 731069                       Title: Senior Sales Account
       Dallas, TX 75373-1069               Manager
                                           Phone: (800) 804-4155
                                           x5752
                                           Email:
                                           Rob.McConnell@Insight.c
                                           om
 21    DELAWARE                            Attn: Holder Reporting              Government      Unliquidated          –            –             $32,185
       DEPARTMENT OF                       Team                                 Agency
       FINANCE                             Phone: (855) 505-7520
       Office of Unclaimed                 Email:
       Property,                           escheat.claimquestions@de
       Carvel State Office                 laware.gov
       Building
       P.O. Box 8923
       Wilmington, DE 19899




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 4
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Debtor Acorda Therapeutics, Inc., et al.                                                  Case number (if known)_____________________________________
       Name


 Name of creditor and complete mailing     Name, telephone number, and email   Nature of the    Indicate if        Amount of unsecured claim
 address, including zip code               address of creditor                 claim            claim is           If the claim is fully unsecured, fill in
                                           contact                             (for example,    contingent,        only unsecured claim amount. If claim is
                                                                               trade debts,     unliquidated,      partially secured, fill in total claim
                                                                               bank loans,      or disputed        amount and deduction for value of
                                                                               professional                        collateral or setoff to calculate unsecured
                                                                               services, and                       claim
                                                                               government                         Total        Deduction       Unsecured
                                                                               contracts)                         claim,       for value       claim
                                                                                                                  if           of
                                                                                                                  partiall     collateral
                                                                                                                  y            or setoff
                                                                                                                  secure
                                                                                                                  d
 22    IQVIA, INC.                         Attn: Sylwia Szymanski              Trade Debt      Unliquidated          –            –             $27,627
       PO Box 8500-784290                  Title: Finance Manager
       Philadelphia, PA 19178-             Phone: (973) 316-4000
       4290                                Email:
                                           Sylwia.Szymanski@iqvia.c
                                           om

 23    SYNERGISTIX, INC.                   Attn: Don Schenker                  Trade Debt      Unliquidated          –            –             $27,388
       480 Sawgrass Corporate              Title: President & CEO
       Pkwy. Suite 200                     Phone: (954) 707-4201
       Sunrise, FL 33325                   Email:
                                           Don.Schenker@synergistix.
                                           com

 24    THE HIBBERT                         Attn: Oksana Posewa                 Inventory /     Unliquidated          –            –             $27,298
       COMPANY, INC.                       Title: Senior Director of           Warehouse
       400 Pennington Avenu                Sales
       Trenton, NJ 08618                   Phone: (609) 222-6088




 25    EUROPEAN                            Phone: +31 (0)88 781 6000            Regulator      Unliquidated          –            –             $26,174
       MEDICINES AGENCY                    Email:
       Domenico Scarlattilaan 6            accountsreceivable@ema.e
       1083 HS                             uropa.eu
       Amsterdam, The
       Netherlands

 26    NYS OFFICE OF THE                   Attn: Office of the State           Government      Unliquidated          –            –             $25,414
       STATE                               Comptroller                          Agency
       COMPTROLLER                         Phone: 1 (800) 221-9311
       Office of Unclaimed                 Email:
       Funds                               Contactus@osc.ny.gov
       Remittance Control, 2nd
       Floor
       110 State Street
       Albany, NY 12236
 27    INDEGENE, INC.                      Attn: Matt Skoronski                Trade Debt      Unliquidated          –            –             $22,500
       PO Box 69091                        Title: Sr Director
       Baltimore, MD 21264                 Phone: (203) 556-2115
                                           Email:
                                           matthew.skoronski@indege
                                           ne.com




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 5
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Debtor Acorda Therapeutics, Inc., et al.                                                  Case number (if known)_____________________________________
       Name


 Name of creditor and complete mailing     Name, telephone number, and email   Nature of the    Indicate if        Amount of unsecured claim
 address, including zip code               address of creditor                 claim            claim is           If the claim is fully unsecured, fill in
                                           contact                             (for example,    contingent,        only unsecured claim amount. If claim is
                                                                               trade debts,     unliquidated,      partially secured, fill in total claim
                                                                               bank loans,      or disputed        amount and deduction for value of
                                                                               professional                        collateral or setoff to calculate unsecured
                                                                               services, and                       claim
                                                                               government                         Total        Deduction       Unsecured
                                                                               contracts)                         claim,       for value       claim
                                                                                                                  if           of
                                                                                                                  partiall     collateral
                                                                                                                  y            or setoff
                                                                                                                  secure
                                                                                                                  d
 28    ELMORE PATENT                       Attn: Carolyn ElmoreTitle:          Professional    Unliquidated          –            –             $19,518
       LAW GROUP. PC484                    PresidentPhone: (978) 251-            Services
       Groton RoadWestford,                3509Email:
       MA 01886                            celmore@elmorepatents.co
                                           m



 30    THE CEMENTWORKS,                    Attn: Jennifer Matthews             Trade Debt      Unliquidated          –            –             $16,698
       LLC                                 Title: CEO and President
       32 Old Slip 15th Floor              Phone: (212) 524-6200
       New York, NY 10005                  Email:
                                           jmatthews@thebloc.com



 30    CAREMARK, L.L.C.                    Attn: Bradley Kruk                   Customer       Unliquidated          –            –             $14,303
       2211 Sanders Road 8th               Title: Manager, Trade
       Floor                               Services
       Northbrook, IL 60062                Email:
                                           bradley.kruk@cvshealth.co
                                           m




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 6
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John R. Dodd (pro hac vice pending)
Baker & McKenzie LLP
1111 Brickell Avenue, 10th Floor
Miami, FL 33130
Telephone: 305-789-8900
Facsimile: 305-789-8953
Email: john.dodd@bakermckenzie.com

Blaire Cahn
Baker & McKenzie LLP
452 Fifth Avenue
New York, NY 10018
Telephone: 212-626-4695
Facsimile: 212-310-1695
Email: blaire.cahn@bakermckenzie.com

Proposed Counsel for the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                                   Chapter 11

ACORDA THERAPEUTICS, INC., et al.,1                                     Case No. 24-_______ (___)

      Debtor.                                                           Joint Administration Requested
__________________________________________/


                 CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure and

Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York, Acorda

Therapeutics, Inc. (“Acorda”) and its affiliated debtors in the above-captioned chapter 11 cases,

as debtors and debtors in possession (collectively, the “Debtors”) hereby disclose that the




1 The Debtors in these chapter 11 cases, along with the last four (4) digits of each Debtor’s federal tax identification

number, are: Acorda Therapeutics, Inc. (1168), Civitas Therapeutics, Inc. (2814), Biotie Therapies, LLC (2149), Biotie
Therapies AG (N/A), Neuronex, Inc. (5094), and Acorda Therapeutics Limited (N/A). For the purposes of these
Chapter 11 Cases, the address for the Debtors is: 2 Blue Hill Plaza, 3rd Floor, Pearl River, New York 10965.
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following are the corporations, other than a governmental unit, that directly own 10% or more of

any class of the Debtors’ equity interest:

         1.      Acorda is a publicly traded corporation. No corporation owns 10% or more of any

class of Acorda’s equity interest.2

         2.      Acorda directly owns 100% of the equity or membership interests, as applicable, of

each other Debtor, with the exception of Biotie Therapies AG.

         3.      Biotie Therapies, LLC directly owns 100% of the equity and membership interests

of Biotie Therapies AG.




2
 Information provided is based on publicly available information as of the date hereof and may not reflect transfers
not yet reported under sections 13 and 16 of the 1934 Securities Exchange Act.


                                                         2
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John R. Dodd (pro hac vice pending)
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Proposed Counsel for the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                                   Chapter 11

ACORDA THERAPEUTICS, INC., et al.,1                                     Case No. 24-_______ (___)

      Debtor.                                                           Joint Administration Requested
__________________________________________/


                               LIST OF EQUITY SECURITY HOLDERS

         Following is the list of Debtors’ equity security holders (other than Acorda Therapeutics,

Inc.)2 which is prepared in accordance with rule 1007(a)(3) for filing in these chapter 11 cases.




1
  The Debtors in these chapter 11 cases, along with the last four (4) digits of each Debtor’s federal tax identification
number, are: Acorda Therapeutics, Inc. (1168), Civitas Therapeutics, Inc. (2814), Biotie Therapies, LLC (2149),
Biotie Therapies AG (N/A), Neuronex, Inc. (5094), and Acorda Therapeutics Limited (N/A). For the purposes of
these Chapter 11 Cases, the address for the Debtors is: 2 Blue Hill Plaza, 3rd Floor, Pearl River, New York 10965.
2
  By the Motion of Debtors for Entry of an Order (i) Extending the Time to File Schedules of Assets and Liabilities,
Schedules of Current Income and Expenditures, Schedules of Executory Contracts and Unexpired Leases, and
Statement of Financial Affairs, and (ii) Waiving the Requirement to File List of Equity Security Holders and Provide
Notice to Equity Security Holders filed contemporaneously herewith, Debtor Acorda Therapeutics, Inc. is requesting
a waiver of the requirement under rule 1007 to file a list of all of its equity security holders.
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                                                                         NUMBER OF
                                                                         SHARES OR
                                       NAME AND ADDRESS OF
            DEBTOR                                                      PERCENTAGE
                                         EQUITY HOLDER
                                                                         OF EQUITY
                                                                           HELD
                                    Davidson Kempner Capital               55,145
Acorda Therapeutics, Inc.           Management LP
                                    520 Madison Avenue
                                    New York, New York 10022
                                    Renaissance Technologies, LLC          45,761
Acorda Therapeutics, Inc.
                                    800 Third Ave
                                    New York, New York 10022
                                    Acadian Asset Management LLC           33,691
Acorda Therapeutics, Inc.
                                    260 Franklin Street
                                    Boston, Massachusetts 02110
                                    Vanguard Group Inc.                    10,808
Acorda Therapeutics, Inc.
                                    PO Box 2600
                                    Valley Forge, Pennsylvania, 19482
                                    Blackrock Inc.                         6,628
Acorda Therapeutics, Inc.
                                    50 Hudson Yards
                                    New York, New York 10001
                                    Wells Fargo & Company/Mn               3,741
Acorda Therapeutics, Inc.
                                    420 Montgomery Street
                                    San Francisco, California 94163
                                    Morgan Stanley                         1,176
Acorda Therapeutics, Inc.
                                    1585 Broadway
                                    New York, New York 10036
                                    Russell Investments Group, Ltd.         300
Acorda Therapeutics, Inc.
                                    Rex House, 10 Regent Street
                                    London, England SW1Y4PE
                                    UBS Group AG                            298
Acorda Therapeutics, Inc.
                                    Bahnhofstrasse 45
                                    Zurich, Switzerland CH-8001
                                    Bank of America Corp /De                50
Acorda Therapeutics, Inc.
                                    Bank of America Corporate Center
                                    Charlotte, North Carolina 28255
                                    Royal Bank of Canada                    14
Acorda Therapeutics, Inc.
                                    Royal Bank Plaza
                                    Toronto, Canada M5J2J5
                                    First Manhattan Co. LLC                  3
Acorda Therapeutics, Inc.
                                    399 Park Ave
                                    New York, New York 10022
                                    JPMorgan Chase & Co.                     3
Acorda Therapeutics, Inc.
                                    383 Madison Avenue
                                    New York, New York 10017
                                    Osaic Holdings, Inc.                     1
Acorda Therapeutics, Inc.
                                    2800 N. Central Avenue
                                    Phoenix, Arizona 85004




                                             2
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                                                                         NUMBER OF
                                                                         SHARES OR
                                        NAME AND ADDRESS OF
             DEBTOR                                                     PERCENTAGE
                                          EQUITY HOLDER
                                                                         OF EQUITY
                                                                           HELD
                                     Qube Research & Technologies Ltd        1
Acorda Therapeutics, Inc.
                                     10th Flr, Nova South Building,
                                     London, , SW1E 5LB (44207)
                                     Acorda Therapeutics, Inc.             100%
Civitas Therapeutics, Inc.
                                     2 Blue Hill Plaza, 3rd Floor
                                     Pearl River, New York 10965
                                     Acorda Therapeutics, Inc.             100%
Biotie Therapies, LLC
                                     2 Blue Hill Plaza, 3rd Floor
                                     Pearl River, New York 10965
                                     Acorda Therapeutics, Inc.             100%
Neuronex, Inc.
                                     2 Blue Hill Plaza, 3rd Floor
                                     Pearl River, New York 10965
                                     Acorda Therapeutics, Inc.             100%
Acorda Therapeutics Limited
                                     2 Blue Hill Plaza, 3rd Floor
                                     Pearl River, New York 10965
                                     Biotie Therapies, LLC                 100%
Biotie Therapies AG
                                     2 Blue Hill Plaza, 3rd Floor
                                     Pearl River, New York 10965




                                              3
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 Fill in this information to identify the case and this filing:


              Acorda Therapeutics, Inc.
 Debtor Name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         q Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         q Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         q Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         q Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         q Schedule H: Codebtors (Official Form 206H)
         q Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         q Amended Schedule ____

         q Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Consolidated Corporate Ownership Statement and Consolidated List of Equity Security Holders
         q Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    04/01/2024
        Executed on ______________                         û /s/ Michael A. Gesser
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Michael A. Gesser
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
